                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION                      ZOZUFEB 10     PM   2: 12



AMY SMITH, JULIE ANN NITSCH,                    §
MARINA CONNER, EMILY                            §
BORCHARDT, ANGELA FIELDING,                     §
ANISHA ITUAH (BY AND THROUGH                    §
HER LEGAL GUARDIAN ANGELA                       §
MCKAY), HEATHER SIN, AND                        §
SARAH JONES, EACH INDIVIDUALLY                  §
AND ON BEHALF OF ALL OTHERS                     §
SIMILARLY SITUATED,                             §
                 PLAINTIFFS,                    §
                                                §
V.                                              §    CAUSE NO. A:18-CV-00505-LY
                                                §
 CITY OF AUSTIN, TRAVIS COUNTY                  §
 DISTRICT ATTORNEY MARGARET                     §
 MOORE, FORMER TRAVIS COUNTY                    §
 DISTRICT ATTORNEY ROSEMARY                     §
 LEHMBERG, AUSTIN POLICE CHIEF                  §
 BRIAN MANELY, FORMER AUSTIN                    §
 POLICE CHIEF ART ACEVEDO, AND                  §
 TRAVIS COUNTY, TEXAS,                          §
                  DEFENDANTS.                   §


                                     FINAL JUDGMENT

       Before the court is the above-styled and numbered action. By separate order the court

granted in part and denied in part Defendants' motions to dismiss, which disposed of all disputes

among the parties. As nothing remains for resolution in the cause, the court renders the following

Final Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS ORDERED that Plaintiffs bear costs of court.

       IT IS FURTHER ORDERED that the case is hereby CLOSED.

       SIGNED this                  day of February, 2020.




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